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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF AMERICA, {! soot
-against- 20 CR 640 (KMW)
16 CR 670 (KMW)
SENTENCING
SCHEDULING ORDER
VETTHYA ALCIUS,
Defendant.
x

 

KIMBA M. WOOD, District Judge

The Defendant is scheduled to be sentenced on May 5, 2021, at 11:00 a.m.

The Presentence Investigation Report is due to the Court on April 21, 2021.

Any sentencing submissions by Defendant must be made by April 26, 2021, and must state
specifically whether Defendant contests any fact in the Presentence Report, and whether Defendant contests
the appropriateness of the Probation Officer’s Sentencing Recommendation.

Defense counsel must arrange for the presentence interview to occur within 14 days of the defendant’s
guilty plea. The Government must submit a statement of facts to Probation within 14 days of the defendant’s
guilty plea. The Government must submit its 51.1 letter, if applicable, 14 days before sentencing. All
counsel must review the Court’s Individual Rules before submitting sentencing memoranda.

Probation should contact Chambers if they experience difficulty scheduling the presentence interview
or if the PSR will not be completed in a timely fashion.

Any response or other submission from the Government is due April 29, 2021,

SO ORDERED

Dated: New York, New York
January 12, 2021

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KIMBA M, WOOD
UNITED STATES DISTRICT JUDGE

 
